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Case 3:22-cv-00532 Document 1-5 Filed 07/14/22 Page 1 of 9 PageID #: 147
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page19  of926
                                                      2 of     PageID
                                                             PageID #:#:
                                                                      148266
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page20  of926
                                                      3 of     PageID
                                                             PageID #:#:
                                                                      149267
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page21  of926
                                                      4 of     PageID
                                                             PageID #:#:
                                                                      150268
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page22  of926
                                                      5 of     PageID
                                                             PageID #:#:
                                                                      151269
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page23  of926
                                                      6 of     PageID
                                                             PageID #:#:
                                                                      152270
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page24  of926
                                                      7 of     PageID
                                                             PageID #:#:
                                                                      153271
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page25  of926
                                                      8 of     PageID
                                                             PageID #:#:
                                                                      154272
Case
 Case3:21-cv-00780
       3:22-cv-00532Document
                     Document19-1
                              1-5 Filed
                                  Filed12/13/21
                                        07/14/22 Page
                                                 Page26  of926
                                                      9 of     PageID
                                                             PageID #:#:
                                                                      155273
